              Case 09-10138-MFW                  Doc 17011           Filed 07/22/16          Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

-----------------------------------------------------------X             Chapter 11
                                                           :
In re                                                      :             Case No. 09-10138 (KG)
                                                           :
Nortel Networks Inc., et al.,1                             :             (Jointly Administered)
                                                           :
                                   Debtors.                :
                                                           :
-----------------------------------------------------------X

                 NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
               HEARING ON JULY 26, 2016 AT 10:00 A.M. (EASTERN TIME)

    AT THE DIRECTION OF THE COURT THE HEARING HAS BEEN CANCELLED

By permission of chambers, any party wishing to participate telephonically must make
arrangements through CourtCall at least one hour prior to the hearing. CourtCall has been
made aware of this extended deadline. CourtCall will not accept reservations after the extended
deadline has passed without permission of chambers. Please do not contact chambers prior to the
expiration of the extended deadline.

ADJOURNED/RESOLVED/WITHDRAWN MATTERS

None.

UNCONTESTED MATTERS UNDER CERTIFICATE/CERTIFICATION

None.

UNCONTESTED MATTERS GOING FORWARD

None.

CONTESTED MATTERS GOING FORWARD

None.



1
        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification number, are:
        Nortel Networks Inc. (6332), Nortel Networks Capital Corporation (9620), Nortel Altsystems Inc. (9769), Nortel
        Altsystems International, Inc. (5596), Xros, Inc. (4181), Sonoma Systems (2073), Qtera Corporation (0251), CoreTek,
        Inc. (5722), Nortel Networks Applications Management Solutions Inc. (2846), Nortel Networks Optical Components
        Inc. (3545), Nortel Networks HPOCS Inc. (3546), Architel Systems (U.S.) Corporation (3826), Nortel Networks
        International Inc. (0358), Northern Telecom International Inc. (6286) and Nortel Networks Cable Solutions Inc. (0567).
        Contact information for the Debtors and their petitions are available at http://dm.epiq11.com/nortel.
           Case 09-10138-MFW    Doc 17011     Filed 07/22/16    Page 2 of 2




Dated: July 22, 2016           CLEARY GOTTLIEB STEEN & HAMILTON LLP
Wilmington, DE                 James L. Bromley (admitted pro hac vice)
                               Lisa M. Schweitzer (admitted pro hac vice)
                               One Liberty Plaza
                               New York, New York 10006
                               Telephone: (212) 225-2000
                               Facsimile: (212) 225-3999

                               - and -

                               MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                      /s/ Tamara K. Minott
                               Eric D. Schwartz (No. 3134)
                               Derek C. Abbott (No. 3376)
                               Andrew R. Remming (No. 5120)
                               Tamara K. Minott (No. 5643)
                               1201 North Market Street
                               Wilmington, DE 19899-1347
                               Telephone: (302) 658-9200
                               Facsimile: (302) 658-3989

                               Counsel for the Debtors and Debtors in Possession




                                         2
